962 F.2d 7
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony Ray SOLOMON, Plaintiff-Appellant,v.George M. JONES;  North Carolina Department of Corrections,Defendants-Appellees.
    No. 92-6297.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 4, 1992Decided:  May 18, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  J. Rich Leonard, Magistrate Judge.  (CA-91-263)
      Anthony Ray Solomon, Appellant Pro Se.
      Deborah Lynn McSwain, North Carolina Department of Justice, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      DISMISSED.
      Before HALL, WILKINS, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Anthony Ray Solomon appeals from the Defendant's notice of appearance of counsel.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also deny Solomon's Motion to Appoint Counsel
      
    
    